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                  UNITED STATES DISTRICT COURT
                     DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA §
                         §
    v.                   § NO. 19-cr-246 (MCA)
                         §
CREAGHAN HARRY,          §
                         §
Defendant.               §
                         §


      MOTION TO SEAL AND FOR LEAVE TO FILE EX PARTE
       OF THE PROSECUTION TEAM IN THIS PROCEEDING

      The United States respectfully submits this motion seeking an

Order to Seal and for leave to file ex parte of the Prosecution Team in

this proceeding the Filter Team’s Motion for an Order Determining

that Certain Documents Produced to Defendant in Case Number 20-

cr.773 Under Federal Rule of Evidence 502(d) Are Not Privileged,

along with accompanying exhibits, copies of the 11 documents that

are at issue, and a Proposed Order. The United States Filter Team’s

motion brief discusses documents produced to Defendant Adarsh

Gupta under Rule 502(d) that, pursuant to this Court’s order in Case

Number 20-cr-773, Dkt. No. 113, may not be shared with members

of the prosecution team in United States v. Harry who are also

members of the prosecution team in United States v. Gupta.
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      Accordingly, to avoid public disclosure or disclosure of the

members of the prosecution team in this matter who are also

members of the prosecution team in United States v. Gupta, the

government requests that the instant motion, its accompanying

exhibits, copies of the 11 documents that are at issue, and Proposed

Order be sealed and filed ex parte of the prosecution team in this

docket.

      PLEASE TAKE NOTICE that a proposed form of Order is

submitted with this motion.

                                   Respectfully submitted,

                                   PHILIP R. SELLINGER
                                   United States Attorney,

                                   GLENN S. LEON
                                   Chief, Criminal Division,
                                   Fraud Section
                                   U.S. Department of Justice

                             By: /s/ Steven S. Michaels .
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      Dated: April 1, 2024




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                         CERTIFICATE OF SERVICE


       I hereby certify that a true and correct copy of the foregoing

 was electronically filed via CM/ECF on April 1, 2024.


                                                /s/ Steven S. Michaels
                                                    Steven S. Michaels
                                                    Trial Attorney




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